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 7
                                       UNITED STATES DISTRICT COURT
 8                                    WESTERN DISTRICT OF WASHINGTON
 9                                              AT SEATTLE
     In Re:
10                                                                    Case No. __________
     SAUK-SUIATTLE INDIAN TRIBE,
11                                                                    NOTICE OF REMOVAL TO
12                                 Plaintiff,                         FEDERAL COURT

13               v.                                                   [CLERK’S ACTION REQUIRED]

14   CITY OF SEATTLE and SEATTLE CITY                                 [Skagit County Superior Court
     LIGHT, a subdivision of the City of Seattle,                     Case No. 21-2-00386-29-1]
15
                                   Respondents.
16

17
     TO:                  Clerk, United States District Court for the Western District of Washington;
18
     AND TO:              Plaintiff SAUK-SUIATTLE INDIAN TRIBE;
19
     AND TO:              Jack W. Fiander, Towtnuk Law Offices, Ltd., Sacred Ground Legal Services,
20                        Inc.

21              PLEASE TAKE NOTICE that The City of Seattle and Seattle City Light 1 (hereinafter
22   “City Light”), by and through its undersigned counsel, hereby removes Case No. 21-2-00386-
23   29-1, filed in the Superior Court for the State of Washington for the County of Skagit, to the
24   United States District Court for the Western District of Washington (Seattle Division),
25
     1
         Seattle City Light is a department of the City of Seattle and not a separate legal entity.
26

         NOTICE OF REMOVAL TO FEDERAL COURT                                                       K&L GATES LLP
                                                                                            925 FOURTH AVENUE, SUITE 2900
         Case No. _________   1                                                                 SEATTLE, WA 98104-1158
                                                                                               TELEPHONE: +1 206 623 7580
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                    Case 2:21-cv-01014 Document 1 Filed 07/29/21 Page 2 of 30




 1   pursuant to 16 U.S.C. § 825p and 28 U.S.C. §§ 1331, 1367, 1441, and 1446. In support of
 2   this removal, City Light states as follows: 2
 3                                      I.       STATE COURT ACTION
 4            1.       On or about June 30, 2021, Plaintiff Sauk-Suiattle Indian Tribe (“Plaintiff”)
 5   filed a Summons and Complaint captioned Sauk-Suiattle Indian Tribe v. Seattle City Light, in
 6   the Superior Court of the State of Washington for the County of Skagit (the “State Court
 7   Action”). On or about July 27, 2021, Plaintiff filed an Amended Complaint, which is
 8   captioned Sauk-Suiattle Indian Tribe v. City of Seattle and Seattle City Light, a subdivision
 9   of the City of Seattle.
10            2.       In its Amended Complaint (see Exhibit A), Plaintiff seeks a declaratory
11   judgment that the “presence and operation” of City Light’s Gorge Dam on the Skagit River
12   (1) “violates the Supremacy Clause of the United States Constitution” because City Light is
13   allegedly “subject to the prohibitions against dams that block fish migration contained in
14   Congressional Acts binding within what is now the State of Washington” (Am. Compl. ¶ 6.B.;
15   id. ¶ 5.B.), (2) violates “the Washington State Constitution in that the [Congressional] statutes
16   governing the Territories of Oregon and Washington imposed a prior restriction against such
17   dams [that] was not repealed” (Am. Compl. ¶ 5.A.; id. ¶ 6.A.), (3) violates the “common law”
18   “as memorialized in RCW 4.04.010” (Am. Compl. ¶ 5.C.; id. ¶ 6.C.), and (4) constitutes a
19   nuisance (Am. Compl. ¶ 5.D.; id. ¶ 6.D.).
20            II.      BACKGROUND AND SUMMARY OF AMENDED COMPLAINT
21            3.       City Light operates the Gorge Dam at Newhalem on the Skagit River. Am.
22   Compl. ¶ 4.A. The Gorge Dam is one of three dams that form part of City Light’s Skagit
23

24
     2
       City Light expressly preserves all objections under Federal Rule of Civil Procedure Rule 12(b). See Charles A.
     Wright & Arthur R. Miller, Federal Practice & Procedure § 1395 (3d ed. 2002) (“When a defendant removes an
25   action from a state court in which he has been sued, he consents to nothing and ‘waives’ nothing; he is exercising
     a privilege unconditionally conferred by statute, and, since the district court to which he must remove it is fixed
     by law, he has no choice, without which there can be no ‘waiver.’”) (quoting Greenburg v. Gianni, 140 F.2d
26   550, 553 (2d Cir. 1944)).

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 1   River Hydroelectric Project, FERC Project No. 553 (the “Project”) on the Skagit River, as
 2   licensed by the Federal Energy Regulatory Commission (“FERC”). See City of Seattle,
 3   Washington, U.S. Department of Interior, Project No. 533-005, Docket No. EL78-36-000, 71
 4   FERC P61,159, 1995 FERC LEXIS 953 (May 16, 1995) (Order Accepting Settlement
 5   Agreement, Issuing New License, and Terminating Proceeding) (sometimes referred to herein
 6   as the “Federal License”). City Light is the owner, operator, and licensee of the Project. Id. at
 7   **61,538-39.
 8          4.      By virtue of the Federal Power Act (“FPA”), FERC has broad and exclusive
 9   jurisdiction to regulate the Project. See 16 U.S.C. §§ 791a, et seq.; California v. FERC, 495
10   U.S. 490, 496, 110 S. Ct. 2024 (1990) (holding that the FPA establishes a “broad federal role
11   in the development and licensing of hydroelectric power”). Specifically, the FPA authorizes
12   FERC “to issue licenses . . . for the purpose of constructing, operating, and maintaining dams,
13   water conduits, reservoirs, power houses, transmission lines, or other project works necessary
14   or convenient . . . for the development, transmission, and utilization of power across, along,
15   from, or in any of the streams or other bodies of water over which Congress has jurisdiction.”
16   16 U.S.C. § 797(e).
17          5.      Plaintiff is a tribal nation (see Am. Compl. ¶ 2.A.), that, in the State Court
18   Action, challenges the “presence and operation” of City Light’s Gorge Dam pursuant to its
19   Federal License as part of the Skagit Project. See id. ¶¶ 5.A., 5.B., 5.C., 5.D.
20                               III.    BASIS FOR JURISDICTION
21          6.      “Any civil action brought in a State court of which the district courts of the
22   United States have original jurisdiction, may be removed by the defendant.” 28 U.S.C.
23   § 1441(a). This court has original jurisdiction to hear actions arising under the laws of the
24   United States pursuant to 28 U.S.C. § 1331 and has supplemental jurisdiction over “all claims
25   that are so related to claims” over which it has original jurisdiction “that they form part of the
26

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 1   same case or controversy under Article III of the United States Constitution.” 28 U.S.C.
 2   § 1367(a).
 3          A.       Federal Question Jurisdiction Exists.
 4
                     (1)    Plaintiff’s grounds for declaratory judgment based on the
 5                          Supremacy Clause of the U.S. Constitution and Article XXVII,
                            Section 2, of the Washington State Constitution turn on substantial
 6                          federal questions.

 7          7.       Although Plaintiff seeks a declaratory judgment under Washington’s Uniform

 8   Declaratory Judgments Act (Chapter 7.24 RCW), one ground upon which Plaintiff seeks a

 9   declaratory judgment turns on the substantial federal question of whether the presence and

10   operation of the Gorge Dam “violates Article VI, ¶ 2 of the United States Constitution.” Am.

11   Compl. ¶ 5.B.; see also Am. Compl. ¶ 6.B. (seeking a declaration that the “presence and

12   operation of [the Gorge Dam] violates the Supremacy Clause of the United States

13   Constitution in that [City Light] is subject to the prohibitions against dams that block fish

14   migration contained in the Congressional Acts binding within what is now the State of

15   Washington . . .”).

16          8.       This Court has jurisdiction over this action under 28 U.S.C. § 1331. Federal-

17   question jurisdiction removal is warranted when “the plaintiff’s complaint establishes that the

18   case ‘arises under’ federal law.” Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463

19   U.S. 1, 10 (1983) (emphasis in original). A complaint satisfies that standard not only when it

20   asserts a federal-law cause of action, but also “where the vindication of a right under state law

21   necessarily turn[s] on some construction of federal law.” Id. at 9. Removal of the State Court

22   Action is proper under 28 U.S.C. § 1441(a) because one of the grounds upon which Plaintiff

23   seeks declaratory judgment arises under the Constitution, laws, or treaties of the United States

24   and depends upon resolution of a substantial question of federal law: Whether the Supremacy

25   Clause and two Congressional Acts prohibit dams in Washington that block fish migration.

26   See North Carolina v. Alcoa Power Generating, Inc., 853 F.3d 140, 146-50 (4th Cir. 2017)


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 1   (citing Franchise Tax Board and holding that a state law claim to quiet title under the North
 2   Carolina Declaratory Judgment Act was properly removed to federal court because ownership
 3   of the land at issue turned on the construction of federal law).
 4             9.       Similarly, Plaintiff’s prayer for a declaratory judgment based on Article
 5   XXVII, Section 2, of the Washington State Constitution (Am. Compl. ¶ 5.A.; see also Am.
 6   Compl. ¶ 6.A.) also arises under federal law and requires a resolution of a substantial question
 7   of federal law. Article XXVII, Section 2, of the Washington State Constitution states that
 8   “[a]ll laws now in force in the Territory of Washington, which are not repugnant to this
 9   Constitution, shall remain in force until they expire by their own limitation, or are altered or
10   repealed by the legislature ….” Plaintiff cites the same Congressional Acts it cited in its
11   Supremacy Clause argument as the “laws now in force in the Territory of Washington” to
12   support its Washington State Constitution argument for declaratory judgment. Again,
13   removal of the State Court Action is proper under 28 U.S.C. § 1441(a) because Plaintiff’s
14   action for declaratory judgment depends upon resolution of a substantial question of federal
15   law: Whether two Congressional Acts prohibit dams in Washington that block fish migration.
16                      (2)    Plaintiff’s grounds for declaratory judgment based on RCW
17                             4.04.010 and the tort of nuisance also turn on substantial federal
                               questions.
18             10.      In addition to the above, Plaintiff’s remaining grounds for declaratory
19   judgment, while arguably couched in terms of state law (the common law as memorialized in
20   RCW 4.04.010, and the tort of nuisance), nevertheless raise substantial federal questions
21   under the laws of the United States, and would independently confer original jurisdiction on
22   the federal courts. See Am. Compl. ¶¶ 5.C. and 5.D.; see also Am. Compl. ¶¶ 6.C. and 6.D.
23   Plaintiff’s remaining allegations involve and directly challenge City Light’s operations and
24   compliance with the terms of its Federal License, the FPA, and FERC rules, regulations, and
25   orders.
26

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                                                                             925 FOURTH AVENUE, SUITE 2900
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 1          11.      As pled, Plaintiff’s action seeks “declaratory and prospective injunctive relief”
 2   arising from the “presence and operation” of City Light’s Gorge Dam pursuant to its Federal
 3   License. See Am. Compl. at 3; see also id. ¶¶ 5.A, 5.B., 5.C., 5D. As such, even Plaintiff’s
 4   alleged state law grounds for declaratory judgment arise under the FPA, 16 U.S.C. §§ 791a, et
 5   seq., and necessarily raise a question of federal law. Federal jurisdiction over an alleged state
 6   law claim will lie where the action “discloses a contested and substantial federal question,”
 7   and in such cases, courts consider whether (1) “a state-law claim necessarily raise[s] a stated
 8   federal issue,” (2) the federal issue is “actually disputed and substantial,” and (3) “a federal
 9   forum may entertain [it] without disturbing any congressionally approved balance of federal
10   and state judicial responsibilities.” Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg.,
11   545 U.S. 308, 313-14, 125 S. Ct. 2363 (2005); Carrington v. City of Tacoma, 276 F. Supp. 3d
12   1035, 1041-42 (W.D. Wash. 2017) (applying test to hold that City of Tacoma properly
13   removed plaintiffs’ state law negligence claim because it necessarily raised a question under
14   the FPA and City of Tacoma’s FERC license as to the applicable duty of care). Plaintiff’s
15   state law grounds for declaratory judgment meet each element of this test for the following
16   reasons:
17          12.      First, Plaintiff’s alleged state law grounds necessarily raise a federal issue
18   under the FPA and the Federal License. Plaintiff’s allegations involve and directly challenge
19   City Light’s compliance with the Federal License, the FPA, and its implementing rules and
20   regulations. In its Amended Complaint, Plaintiff alleges it is entitled to its requested relief
21   based on the mere “presence and operation” of Gorge Dam consistent with the Federal
22   License. At the outset, and simply put, Plaintiff’s entire action is a collateral attack on City
23   Light’s Federal License, which license authorizes and governs the very “presence and
24   operation” of the Gorge Dam. Authorization of projects under the FPA “is within the
25   exclusive jurisdiction” of FERC, “unless that jurisdiction is modified by other federal
26   legislation.” Federal Power Comm’n v. Oregon, 349 U.S. 435, 446, 75 S. Ct. 832 (1955)

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 1   (emphasis added). Congress has vested in the federal courts of appeal “exclusive jurisdiction”
 2   to review FERC orders under the FPA, including all objections to those orders and licenses
 3   issued thereunder. City of Tacoma v. Taxpayers of Tacoma, 357 U.S. 320, 335-37, 78 S. Ct.
 4   1209 (1958).
 5          13.      Additionally, Plaintiff’s state tort law nuisance argument necessarily raises a
 6   federal issue and involves application of federal law. Under Washington law, whether
 7   Plaintiff can prevail on its nuisance claim involves consideration of whether City Light’s
 8   operations are in violation of its Federal License, or outside the authorizations governed
 9   thereunder. See RCW 7.48.160 (“Nothing which is done or maintained under the express
10   authority of a statute, can be deemed a nuisance.”); see also Tiegs v. Watts, 135 Wn.2d 1, 14,
11   954 P.2d 877 (1998) (“business operation does not at the outset constitute a nuisance when it
12   is authorized by proper authority”). Because interpretation and consideration of City Light’s
13   Federal License and the authorizations under the FPA would be central to any actionable
14   nuisance, Plaintiff’s action for declaratory judgment based on nuisance raises a substantial
15   issue of federal law. Cf. Carrington, 276 F. Supp. 3d at 1042 (“Because it is necessary to
16   interpret TPU’s FERC license to determine the duty of care, Plaintiffs’ claims implicate a
17   substantial issue of federal law.”).
18          14.      Finally, Plaintiff’s reliance on RCW 4.04.010 and the tort of nuisance also
19   raises the question of whether the savings clause of the FPA, 16 U.S.C. § 821, allows state
20   tort law to supplant FERC’s exclusive control of dam operations, see Simmons v. Sabine River
21   Auth., 732 F.3d 469, 476 (5th Cir. 2013) (noting “importance of a single federal agency
22   controlling public water use and dam operations”), or whether the FPA preempts such state
23   law claims.
24          15.      Second, the federal issue embedded in Plaintiff’s state law grounds for
25   declaratory judgment is actually disputed. City Light disputes Plaintiff’s allegations about the
26   propriety of City Light’s operation of the Gorge Dam pursuant to its Federal License. Further,

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 1   the federal issue raised by Plaintiff’s arguments is “substantial.” The FPA is designed as “a
 2   complete scheme of national regulation which would promote the comprehensive
 3   development of the water resources of the Nation . . . instead of the piecemeal, restrictive,
 4   negative approach of . . . other federal laws previously enacted.” First Iowa Hydro-Elec. Co-
 5   op v. Fed. Power Comm’n, 328 U.S. 152, 180, 66 S. Ct. 906 (1946). As demonstrated by the
 6   Project’s near 100-year licensed status, 3 the government and licensees have a “strong interest”
 7   in the interpretation of the FERC license and the FPA’s regulatory scheme. See Grable, 545
 8   U.S. at 315. “The meaning of the FERC license is a substantial and important issue of federal
 9   law that sensibly belongs in a federal court.” VA Timerline, LLC v. Appalachian Power Co.,
10   2006 U.S. Dist. LEXIS 52156, at *5, 2006 WL 1993557, at *2 (W.D. Va. July 13, 2006)
11   (citation and quotation marks omitted). Indeed, several federal district courts have considered
12   analogous issues—whether federal courts had jurisdiction over a property owner’s state law
13   tort claim against a FERC-licensed dam operator—and concluded “the claims implicate a
14   substantial issue of federal law” and therefore are deserving of federal jurisdiction.
15   Carrington, 276 F. Supp. 3d at 1042; see also Funderburk v. S.C. Elec. & Gas Co., 179 F.
16   Supp. 3d 569, 580 (D. S.C. 2016).
17           16.      Third, because exercising jurisdiction over these claims would not “herald[ ] a
18   potentially enormous shift of traditionally state cases into federal courts,” it will not disrupt
19   the federal-state balance approved by Congress. Grable, 545 U.S. at 319; see also Carrington,
20   276 F. Supp. 3d at 1042. The interpretation of FERC rules, regulations, and orders (like the
21   Federal License) issued under the FPA and the operational authorizations and mandates under
22   the Federal License should not be litigated in state courts. “Rather, the fact that the FPA
23   includes section 825p [16 U.SC. § 825p], which provides federal courts ‘exclusive
24   jurisdiction’ over cases involving the FPA, demonstrates that Congress affirmatively sought
25
     3
      See City of Seattle, Washington, U.S. Department of Interior, Project No. 533-005, Docket No. EL78-36-000,
26   71 FERC P61,159, *61,537, 1995 FERC LEXIS 953, at *43-44 (May 16, 1995).

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 1   to provide a federal forum for cases like this one.” Funderburk, 179 F. Supp. 3d at 581
 2   (emphasis added).
 3          B.       Alternatively, this Court has Supplemental Jurisdiction over Plaintiff’s
                     Remaining Alleged State Law Grounds for Declaratory Judgment.
 4

 5          17.      In addition to the above, under 28 U.S.C. § 1367, even in the absence of a

 6   federal question on the alleged state law grounds for declaratory judgment, this Court

 7   nevertheless also has supplemental jurisdiction over “all other claims that are so related to

 8   claims in the action within such original jurisdiction that they form part of the same case or

 9   controversy under Article III of the United States Constitution.” Each of Plaintiff’s claims

10   arise from the mere “presence and operation” of the Gorge Dam consistent with the Federal

11   License, and the conditions imposed by FERC during the relicensing of the Project. See Am.

12   Compl. ¶¶ 5.A, 5.B, 5.C, 5.D. Plaintiff’s state law grounds for declaratory judgment arise

13   under a “common nucleus of facts” as the federal grounds, and as such, confers supplemental

14   jurisdiction on this Court. See id.; see also United Mine Workers of Am. v. Gibbs, 383 U.S.

15   715, 725, 86 S. Ct. 1130 (1966); see also Funderburk, 179 F. Supp. 3d at 583.

16                            IV.    PROCEDURAL REQUIREMENTS

17          18.      Removal to this Court Is Proper: Pursuant to 28 U.S.C. §§ 1441(a) and

18   1446(a), City Light files this Notice of Removal in the United States District Court for the

19   Western District of Washington, which is the federal district court embracing the state court

20   where Plaintiff brought the State Court Action - in Skagit County, Washington. Venue is

21   proper in this district pursuant to 28 U.S.C. § 1391(b) and 28 U.S.C. § 128(a). Under Local

22   Civil Rule 3(e)(1), removal to the Western District of Washington at Seattle is proper because

23   a substantial part of the alleged events or omissions that give rise to the claims occurred in

24   Skagit County. Am. Compl. ¶¶ 3.A., 4.A., 4.B., and 4.C.

25          19.      Removal Is Timely: On or about July 14, 2021, Plaintiff served a copy of the

26   Summons and Complaint on City Light. This Notice of Removal is filed within 30 days of


      NOTICE OF REMOVAL TO FEDERAL COURT                                         K&L GATES LLP
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 1   City Light’s receipt of the Summons and Complaint, and is therefore timely filed and served
 2   pursuant to 28 U.S.C. § 1446(b).
 3          20.     Signature: This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11.
 4   See 28 U.S.C. § 1446(a).
 5          21.     Pleadings and Process: A true and correct copy of the Amended Complaint
 6   served on City Light in the State Court Action is attached hereto as Exhibit A. See 28 U.S.C.
 7   § 1446(a) and Local Civil Rule 101(b).
 8          22.     Complete Record of State Court Action: A copy of the complete record of the
 9   State Court Action is attached to the Verification of State Court Records, which is being filed
10   concurrently with this Notice of Removal pursuant to 28 U.S.C. § 1446(a) and Local Civil
11   Rule 101(c).
12          23.     Notice: City Light will promptly serve Plaintiff and file with this Court its
13   Notice to Plaintiff of Removal to Federal Court, informing Plaintiff that this matter has been
14   removed to federal court. 28 U.S.C. §§ 1446(a), (d). City Light will also promptly file with
15   the Clerk of the Superior Court of the State of Washington for the County of Skagit, and serve
16   on Plaintiff, a Notice to Clerk of Removal to Federal Court pursuant to 28 U.S.C. § 1446(d).
17   City Light attaches as Exhibit B to this Notice a copy of the notice to be filed with the state
18   court (without the notice’s attachments).
19          WHEREFORE, City Light respectfully gives notice that the above-entitled action is
20   removed from the Skagit County Superior Court to the United States District Court for the
21   Western District of Washington at Seattle.
22

23          DATED this 29th day of July, 2021.
24
                                              K&L GATES LLP
25

26                                            By:   s/ Elizabeth Thomas


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 1                                     Elizabeth Thomas, WSBA # 11544
                                 By:    s/ Kari L. Vander Stoep
 2                                     Kari L. Vander Stoep, WSBA # 35923
 3                               925 Fourth Avenue, Suite 2900
                                 Seattle, WA 98104
 4                               Phone: (206) 623-7580
                                 Fax: (206) 623-7022
 5                                          E-mail: Liz.Thomas@klgates.com
                                                      Kari.Vanderstoep@klgates.com
 6                               Attorneys for Respondents
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 1                                     CERTIFICATE OF SERVICE
 2          I certify that on July 29, 2021, I arranged for electronic filing of the foregoing
 3   document and its exhibits with the Clerk of the Court using the CM/ECF system, which will
 4   send notification of such filing to the following:

 5          Jack W. Fiander
            Towtnuk Law Offices Ltd.
 6          Sacred Ground Legal Services, Inc.
            5808A Summitview Avenue #93
 7          Yakima, WA 98908
            (509) 969-4436 or (509) 961-0096
 8          towtnuklaw@msn.com
 9
            Copies of the foregoing document and its exhibits are also being provided by (1) hand
10
     delivery/messenger, (2) electronic mail, and (3) pre-paid U.S. mail, to the following parties:
11
            Jack W. Fiander
12          Towtnuk Law Offices Ltd.
            Sacred Ground Legal Services, Inc.
13          5808A Summitview Avenue #93
            Yakima, WA 98908
14          (509) 969-4436 or (509) 961-0096
            towtnuklaw@msn.com
15

16          Sauk-Suiattle Indian Tribe
            Office of Legal Counsel
17          5318 Chief Brown Lane
            Darrington, WA 98241
18          (360) 436-0139
19          lweller@sauk-suiattle.com

20
            DATED this 29th day of July, 2021 at Seattle, Washington.
21

22                                                        By s/Dawnelle Patterson
                                                            Dawnelle Patterson, Practice Assistant
23                                                          Dawnelle.patterson@klgates.com
24

25

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         EXHIBIT A
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         EXHIBIT B
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 7
                       SUPERIOR COURT OF WASHINGTON FOR SKAGIT COUNTY
 8
     In Re:
 9                                                                    Case No. 21-2-00386-29-1
     SAUK-SUIATTLE INDIAN TRIBE,
10                                                                    NOTICE TO STATE COURT CLERK OF
                                   Plaintiff,                         REMOVAL TO FEDERAL COURT
11
                 v.
12

13   CITY OF SEATTLE and SEATTLE CITY
     LIGHT, a subdivision of the City of Seattle,
14
                                   Respondents.
15

16
     TO:                  The Clerk of the Court;
17
     AND TO:              Plaintiff SAUK-SUIATTLE INDIAN TRIBE;
18
     AND TO:              Jack W. Fiander, Towtnuk Law Offices, Ltd., Sacred Ground Legal Services,
19                        Inc.

20              PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1446(d) that on July 29, 2021,

21   Respondents The City of Seattle and Seattle City Light 1 (hereinafter “City Light”), removed

22   this matter to the United States District Court of the Western District of Washington at

23   Seattle. A true and correct copy of the Notice of Removal to Federal Court is attached to this

24   notice.

25

26   1
         Seattle City Light is a department of the City of Seattle and not a separate legal entity.

         NOTICE TO STATE COURT CLERK OF                                                           K&L GATES LLP
                                                                                            925 FOURTH AVENUE, SUITE 2900
         REMOVAL TO FEDERAL COURT                                                               SEATTLE, WA 98104-1158
                                                                                               TELEPHONE: +1 206 623 7580
         Case No. 21-2-00386-29-1           1                                                  FACSIMILE: +1 206 623 7022
               Case 2:21-cv-01014 Document 1 Filed 07/29/21 Page 29 of 30




 1          PLEASE TAKE FURTHER NOTICE THAT, under 28 U.S.C. §§ 1446(a) and
 2   1446(d), the filing of the Notice of Removal to Federal Court in the United States District
 3   Court for the Western District of Washington, together with the filing of a copy of the Notice
 4   of Removal to Federal Court in this Court, results in removal of this action, and this Court
 5   may not proceed further with the action unless and until the action is remanded.
 6

 7          DATED this 29th day of July, 2021.
 8
                                             K&L GATES LLP
 9

10                                           By:   s/ Elizabeth Thomas
                                                   Elizabeth Thomas, WSBA # 11544
11                                           By: s/ Kari L. Vander Stoep
                                                   Kari L. Vander Stoep, WSBA # 35923
12                                           925 Fourth Avenue, Suite 2900
                                             Seattle, WA 98104
13
                                             Phone: (206) 623-7580
14                                           Fax: (206) 623-7022
                                                        E-mail: Liz.Thomas@klgates.com
15                                                                Kari.Vanderstoep@klgates.com
                                             Attorneys for Respondents
16

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      NOTICE TO STATE COURT CLERK OF                                            K&L GATES LLP
                                                                          925 FOURTH AVENUE, SUITE 2900
      REMOVAL TO FEDERAL COURT                                                SEATTLE, WA 98104-1158
                                                                             TELEPHONE: +1 206 623 7580
      Case No. 21-2-00386-29-1     2                                         FACSIMILE: +1 206 623 7022
                Case 2:21-cv-01014 Document 1 Filed 07/29/21 Page 30 of 30




 1

 2                                     CERTIFICATE OF SERVICE

 3           I certify that on July 29, 2021, I arranged for service of the foregoing document and its
 4   attachment on the parties below by electronic service, electronic mail, hand delivery and US
 5   mail:
             Jack W. Fiander
 6
             Towtnuk Law Offices Ltd.
 7           Sacred Ground Legal Services, Inc.
             5808A Summitview Avenue #93
 8           Yakima, WA 98908
             (509) 969-4436 or (509) 961-0096
 9           towtnuklaw@msn.com
10
             Sauk-Suiattle Indian Tribe
11           Office of Legal Counsel
             5318 Chief Brown Lane
12           Darrington, WA 98241
             (360) 436-0139
13           lweller@sauk-suiattle.com
14
             DATED this 29th day of July, 2021 at Seattle, Washington.
15

16
                                                        By s/Dawnelle Patterson
17                                                        Dawnelle Patterson, Practice Assistant
                                                          Dawnelle.patterson@klgates.com
18

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      NOTICE TO STATE COURT CLERK OF                                            K&L GATES LLP
                                                                          925 FOURTH AVENUE, SUITE 2900
      REMOVAL TO FEDERAL COURT                                                SEATTLE, WA 98104-1158
                                                                             TELEPHONE: +1 206 623 7580
      Case No. 21-2-00386-29-1     3                                         FACSIMILE: +1 206 623 7022
